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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                        No. 2:12-md-02323-AB
INJURY LITIGATION                                 MDL No. 2323


Kevin Turner and Shawn Wooden,                    Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

          Plaintiffs,

               v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


                    FANECA OBJECTORS’ RESPONSE TO
         CO-LEAD CLASS COUNSEL’S MOTION FOR EXTENSION OF TIME

       As the Court is aware, on January 11, 2017, the Faneca Objectors filed a Petition for an

Award of Attorneys’ Fees and Expenses in recognition of the $102.5-million benefit that the

Faneca Objectors’ efforts brought to the class. See Dkt. No. 7070. On February 13, 2017, Co-

Lead Class Counsel filed their fee petition. See Dkt. No. 7151. One week later, class member

Cleo Miller, represented by attorney John J. Pentz, filed an objection to both fee petitions. See

Dkt. No. 7161. Co-Lead Class Counsel now move for an extension of time to file a consolidated

response to the Faneca Objectors’ fee petition, the Miller objection, and several additional filings

related to Co-Lead Class Counsel’s petition for attorneys’ fees. See Dkt. No. 7228.
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       The Faneca Objectors agree that coordinated briefing would serve the interests of judicial

efficiency. Thus, the Faneca Objectors do not oppose Co-Lead Class Counsel’s request for an

extension of time until March 16, 2017, to file a consolidated response to the Faneca Objectors’

fee petition, the Miller objection, and the other filings.

       Consistent with that approach, the Faneca Objectors request leave to file a single,

consolidated brief that addresses all responses to their fee petition on or before April 6, 2017.

Given the complexity of the issues and the length of time Co-Lead Class Counsel have had to

respond to the Faneca Objectors’ petition,1 the Faneca Objectors respectfully submit that up to

21 days is a reasonable amount of time to allow for a reply.



Dated: March 1, 2017                                    Respectfully Submitted,

                                                        /s/ Steven F. Molo
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                                 Counsel for the Faneca Objectors



1
 The Faneca Objectors filed their petition on January 11, 2017. See Dkt. 7070. Over two
months will have elapsed by the time Co-Lead Class Counsel respond on March 16, 2017.

                                                   2
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 1, 2017, I caused the foregoing Faneca Objectors’

Response to Co-Lead Class Counsel’s Motion for Extension of Time to be filed with the United

States District Court for the Eastern District of Pennsylvania via the Court’s CM/ECF system,

which will provide electronic notice to all counsel and parties.

                                                                   /s/ Steven F. Molo
